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                       IN THE U.S. DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF GEORGIA

JENNIFER JOHNSON-CAMPBELL, INDIVIDUALLY,                                        PLAINTIFFS
AND AS ADMINISTRATOR OF THE ESTATE OF
CATHY ANN WINDHAM JOHNSON, DECEASED, AND
JESSICA TAGNEY, INDIVIDUALLY

v.                                                                      1:19-cv-00209-LAG



WORKHORSE TRUCKS, INC. (WORKHORSE GROUP, INC.)                                 DEFENDANT


       PLAINTIFFS’ MOTION FOR LEAVE TO FILE AMENDED COMPLAINT


       Plaintiffs, Jennifer Johnson-Campbell, Individually, and as Administrator for the Estate of

Cathy Ann Windham Johnson, deceased, and Jessica Tagney, Individually, by counsel, for their

Motion for Leave to file an Amended Complaint against the Defendant, Workhorse Trucks, Inc.

(Workhorse Group, Inc.), and new Defendants Workhorse Motor Works, Inc., Navistar, Inc., and

Workhorse Custom Chassis, LLC, state as follows:

       Defendant Workhorse Group has filed a motion to dismiss, and Plaintiffs have opposed the

motion. In support of the motion, Defendant Workhorse Group claims that Workhorse Custom

Chassis, LLC (a Navistar, Inc., subsidiary), sold its business to Workhorse Motor Works, Inc. (a

Workhorse Group subsidiary), on March 4, 2013. See Doc. 7-1 par. 7.

       According to Defendant Workhorse Group, Defendant Workhorse Custom retained

responsibility for any defective products created before that date. See Doc. 7-1 par. 8. While

Plaintiffs believe that Workhorse Group’s motion must fail both procedurally and on the merits,

Plaintiffs in abundance of caution seek leave to amend to add further jurisdictional allegations

against Workhorse Group and to add Navistar, Workhorse Custom Chassis, and Workhorse Motor

Works as Defendants.


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                   STANDARD FOR GRANTING LEAVE TO AMEND

       This Court should grant the motion because “courts should freely give leave to amend

when justice so requires.” Woldeab v. Dekalb Cty. Bd. of Educ., 885 F.3d 1289, 1291 (11th Cir.

2018) (citing FRCP 15). Under Rule 15, “district courts should generously allow amendments

even when the plaintiff does not have the right to amend the complaint.” Williams v. Bd. of

Regents of Univ. Sys. of Georgia, 477 F.3d 1282, 1292 n.6 (11th Cir. 2007).

       Moreover, justice generally requires leave to amend where facts in the original complaint

would state a claim and prevent dismissal. See Miami v. Wells Fargo, 923 F.3d 1260, 1295 (11th

Cir. 2019) (“[T]he district court improvidently dismissed the FHA claims in their entirety and

ought to have granted the City leave to amend its complaints, since amendation would not have

been futile.”); Chang v. JPMorgan, 845 F.3d 1087, 1097 (11th Cir. 2017) (“…Chang’s

allegations as set forth in his proposed amended complaint were sufficient to establish that the

Bank owed him a duty, and thus he stated a claim for negligence. The district court erred when it

denied him leave to amend.”); Carollo v. Boria, 833 F.3d 1322, 1332 (11th Cir. 2016) (“justice

requires giving Carollo an opportunity to file an amended complaint that resurrects those

portions of his complaint that we dismiss by pleading facts that support the claim—if true—that

he spoke as a citizen and not pursuant to his ordinary job responsibilities.”); Michel v. NYP

Holdings, 816 F.3d 686, 706 (11th Cir. 2016) (reversing decision to dismiss with prejudice)

(“[T]here is no reason to believe that allowing Michel leave to amend his complaint would be

futile or that some other substantial reason exists to deny leave.”); Perez v. Wells Fargo, 774

F.3d 1329, 1341–42 (11th Cir. 2014) (“[W]e cannot say after review of the Business Account

Agreement that any amendment of her complaint would necessarily be futile. We therefore

reverse the district court's order denying the motion to amend…”). Baez v. Banc One Leasing,

348 F.3d 972, 974 (11th Cir. 2003).


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       As explained in the opposition to Workhorse Group’s motion to dismiss, leave to amend

is not futile as to Workhorse Group. Indeed, this Court could deny Workhorse Group’s motion

even without granting leave to amend. The Amended Complaint simply provides additional

factual detail of Workhorse Group’s continuous efforts to target the State of Georgia.

                                       RELATION-BACK

       As to Navistar, Workhorse Custom, and Workhorse Motor, leave to amend is not futile

because the amendment will relate back to the date of filing. Georgia has a two-year statute of

limitations. Ga. Code § 9-3-33. Georgia tolls the statute from “[t]he time between the death of a

person and the commencement of representation upon his estate...” Ga. Code § 9-3-92. See

Hayes v. Hines, 347 Ga. App. 802, 807 (2018).

       Decedent died on October 19, 2017, and Jennifer Campbell was appointed as the

administrator of Decedent’s estate on December 4, 2017. Accordingly, the statute of limitations

was tolled under Section 9-3-92 until December 4, 2019. The original complaint was timely

filed in state court on October 15, 2019. Under Rule 15(c)(1)(C), an amended complaint relates

back to the date of filing the original complaint when “if, within the period provided by Rule

4(m) for serving the summons and complaint, the party to be brought in by amendment:

               (i) received such notice of the action that it will not be prejudiced in defending on

               the merits; and

               (ii) knew or should have known that the action would have been brought against

               it, but for a mistake concerning the proper party's identity.”

       Both elements will be addressed in turn.

                                             NOTICE

       As explained below, Plaintiffs will timely provide notice to each new Defendant before

the February 13, 2020, deadline. Rule 4(m) requires service of the Complaint “90 days after the


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complaint is filed…” Because the Federal Rules of Civil Procedure only “apply to a civil action

after it is removed from a state court,” FRCP 81(c)(1), the Rule 4(m) deadline runs from the date

of removal. See also FRCP 3 (“A civil action is commenced by filing a complaint with the

court.”).

        There is widespread agreement by federal courts that have considered the issue. Wright &

Miller, 4B Fed. Prac. & Proc. Civ. § 1137 (4th ed.) (“In removed cases, the Rule 4(m) time

period starts to run upon removal to the federal district court…”); id. at n.3 (citing Cardenas v.

Chicago, 646 F.3d 1001, 1004 (7th Cir. 2011), Wallace v. Microsoft, 596 F.3d 703 (10th Cir.

2010), Medlen v. Estate of Meyers, 273 Fed. Appx. 464 (6th Cir. 2008), Rogers v. Amalgamated

Transit Union Local 689, 98 F. Supp. 3d 1, 6 (D.D.C. 2015), Egan v. Tenet Health Care, 2016

WL 3561866 (D. Mass. 2016), Broodnox v. Wal-Mart, 2015 WL 8903537 (N.D. Fla. 2015),

adopted, 2015 WL 8957790 (2015), White v. Capio Partners, 2015 WL 5944943 (S.D. Ga.

2015), Savard v. JP Morgan, 2010 WL 2802543 (D. Colo. 2010), Patterson v. Brown, 2008 WL

219965 (W.D. N.C. 2008), amended, 2008 WL 619374 (2008), rev'd in part on other grounds,

392 Fed. Appx. 185 (4th Cir. 2010), Cole v. Chicago, 2008 WL 68687 (N.D. Ill. 2008), Johnson

v. Skolski, 2007 WL 141961 (E.D. Mich. 2007), Lawrence v. Hanson, 197 F. Supp. 2d 533

(W.D. Va. 2002), Hunt v. Smith, 67 F. Supp. 2d 675 (E.D. Tex. 1999), G.G.G. Pizza v. Domino's,

67 F. Supp. 2d 99 (E.D. N.Y. 1999), and Eccles v. National Semiconductor, 10 F. Supp. 2d 514

(D. Md. 1998)).

        In this case, Defendant Workhorse Group removed this case on November 15, 2019.

When it did so, Defendant Workhorse Group filed Plaintiffs’ Complaint. Notice of Removal, Ex.

A; 28 U.S.C.A. § 1446(a) (“A defendant … desiring to remove any civil action from a State

court shall file in the district court of the United States … a notice of removal … , together with

a copy of all process, pleadings, and orders served upon such defendant …”) (emphasis added).


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As a result, the Rule 15 deadline to notify the newly named Defendants of this action is February

13, 2020 (90 days after November 15, 2019).

       Even if the 90-day service deadline ran from the date of the Complaint was filed in state

court (which is denied), the deadline would be January 13, 2020 (90 days after the October 15,

2019, filing date in state court). To avoid unnecessary litigation over this 31-day difference,

Plaintiffs will notify Workhorse Motor, Workhorse Custom, and Navistar of this suit on or

before January 13, 2020. Plaintiffs note that it is reasonable to infer that Workhorse Group has

already notified Navistar and Workhorse Custom of this lawsuit because Workhorse Custom

agrees to indemnify Workhorse Motor as well as Workhorse Motor’s “Affiliates, successors and

permitted assigns” under the contract to buy (Doc. 7-1, ex. A, par. 5.2(a)).

       In support of its motion to dismiss, Workhorse Group claims that this action is an

excluded liability. See Doc. 7-1 par. 8. As a result, it is reasonable to infer that Workhorse Group

has invoked the indemnification provision in the contract and notified Navistar and Workhorse

Custom of this action. Plaintiffs further note that Workhorse Motor—a wholly-owned subsidiary

of Workhorse Group—already has constructive notice of this suit. See Krupski v. Costa

Crociere, 560 U.S. 538, 554 (2010); Cannon v. Oconee Cty., -- S.E.2d --, 2019 WL 5588788, at

*5 (Ga. Ct. App. Oct. 30, 2019) (following Krupski).          Nevertheless, to avoid unnecessary

litigation over constructive knowledge, Plaintiffs will provide direct, actual notice to Workhorse

Motor of this suit on or before January 13, 2020.

                                           MISTAKE

       In Krupski, the Supreme Court defined “mistake” broadly and held that amendment

should be allowed to add the correct owner of a cruise ship, and it was irrelevant whether the

plaintiff knew or should have known the correct owner before filing suit. 560 U.S. at 548-557.

Under Krupski, a Rule 15(c)(1)(C)(ii) mistake could be, for example, a misunderstanding or lack


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of understanding about the role the newly added defendant played in the matter or a

misunderstanding of the defendant’s legal status. 560 U.S. at 549. In this case, Plaintiffs’

mistake clearly fits within Rule 15(c)(1)(C).

       Due to the decision by the AMP entities to rebrand themselves as “Workhorse” entities,

Plaintiffs reasonably believed that Workhorse Group and Workhorse Custom were jointly

controlled and operated. Indeed, Workhorse Group has held itself our as a mere continuation of

the Workhorse brand. Despite their reasonable diligence, Plaintiffs were unaware until the filing

of Workhorse Group’s motion on December 6, 2019, that Workhorse Group may have not fully

continued the operations of Workhorse Custom. Despite their reasonable diligence, Plaintiffs

were unaware until the filing of Workhorse Group’s motion on December 6, 2019, that

Workhorse Group and Workhorse Motor would deny responsibility for Workhorse Custom

products. In fact, despite their reasonable diligence, Plaintiffs remain unaware of the nature of

liabilities contractually retained by Navistar and Workhorse Custom and contractually obtained

by Workhorse Group and Workhorse Motor. Under the circumstances, relation-back is proper.

                                         CONCLUSION

       For these reasons, this Court should grant Plaintiffs leave to amend.

                                                    /s/ Dylan J. Hooper
                                                    DYLAN J. HOOPER
                                                    Morgan & Morgan Atlanta, PLLC
                                                    191 Peachtree Street, N.E., Suite 4200
                                                    P.O. Box 57007
                                                    Atlanta, GA 30343-1007
                                                    (404) 965-8811 – Telephone
                                                    (859) 899-8108 – Facsimile
                                                    dhooper@forthepeople.com
                                                    Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 3rd day of January, 2020, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification to all counsel
of record.

                                                     /s/ Dylan J. Hooper
                                                     DYLAN J. HOOPER
                                                     Counsel for Plaintiffs




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